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 5
                                   UNITED STATES DISTRICT COURT
 6
                                           DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,                 )
 9                                             )
                       Plaintiff,              )                    Case No. 2:17-cr-00180-JAD-PAL
10                                             )
     vs.                                       )                    ORDER
11                                             )
     MAURICE LEWIS, et al.,                    )
12                                             )
                       Defendants.             )
13   __________________________________________)
14          This matter is before the court regarding the government’s letter dated June 28, 2017, and
15   the government’s exhibits labeled 1-3 that were hand-delivered to chambers on June 28, 2017. In
16   reviewing the docket in this case, it has come to the court’s attention that this letter and the exhibits
17   were not filed. The government must file the letter and exhibits by August 7, 2017.
18          IT IS SO ORDERED.
19
20          DATED: July 31, 2017
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23
                                                    ______________________________________
24                                                  C.W. Hoffman, Jr.
                                                    United States Magistrate Judge
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